                       Case 4:13-cr-00099-BMM Document 106 Filed 02/20/18 Page 1 of 7
AO 245C (Rev. 02/18) Amended Judgment in a Criminal Case                                                                   (NOTE: Identify Changes with Asterisks (0»
                     Sheet I


                                            UNITED STATES DISTRICT COURT
                                                                       District of Montana                                            FEB 2 0 2018
                UNITED STATES OF AMERICA                                           )   AMENDED JUDGMENT 1N:A\rC,:o.:tMDl4lcWt\SE
                                                                                   )                                                  District Of Montana
                                      v.
                                                                                   )   Case Number: CR-13-99-GF-BMM-04
                         HUNTER BURNS                                              )
                                                                                       USM Number: 12859-046
                                                                                   )
Date of Origina I Judgment: _7-.;/::-1..",01_2_0--:14-:-----:------:-:-:---;----:­ )   *Joslyn Hunt
                                          (Or Date ofLast Amended Judgment)            Defendant's Attorney
                                                                                   )
Reason for Amendment:
                                                                                   )
o Correction of Sentence on Remand (18 U.S.C. 3742(f)(I) and (2»
                                                                                   )
                                                                                       o Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e»
o Reduction of Sentence for Changed Circumstances (Fed. R. Crim.
                                                                                   )
                                                                                       o Modification of Imposed Term of Imprisonment for Extraordinary and
  P. 35(b»                                                                                Compelling Reasons (18 U.S.C. § 3582(cXI»
                                                                                   )
o Correction ofSentence by Sentencing Court (Fed. R. Crim. P. 35(a»
                                                                                   )
                                                                                       o Modification ofImposed Term ofImprisonment for Retroactive Amendment{s)
o Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)
                                                                                   )
                                                                                          to the Sentencing Guidelines (IS U.S.C. § 3582(cX2»

                                                                                   )
                                                                                       o Direct Motion to District Court Pursuant 0 28 U.S.C. § 2255 or
                                                                                   )
                                                                                         o 18 U.S.C. § 3559{c)(7)
                                                                                       [!( Modification Due to Material Change in Economic Circumstances (IS U.S.C.
                                                                                          § 3572(d)(3»
THE DEFENDANT:
rtf pleaded guilty to count(s) ---------------------------------------------------------------------------
                                I of the Indictment
o pleaded nolo contendere to count(s)
    which was accepted by the court.
o was found guilty on count(s)
    after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                                                  Offense Ended
 18 U.S.C. § 286                     False Claims Act Conspiracy                                                        4/22/2010




       The defendant is sentenced as provided in pages 2 through ____*-c7'--___ ofthis judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count{s)
[!f' Count(s)     II and III                                   0 is     rtf are dismissed on the motion of the United States.
         It is ordered that the defendant must notifY the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution,
the defenoant must notify the court and United States attorney of material clianges in economic circumstances.
                                                                                        7/,~~




                                                                                                                           United States District Judge
                                                                                       Name and Title of Judge
                                                                                       2/20/2018
                                                                                       Date
                    Case 4:13-cr-00099-BMM Document 106 Filed 02/20/18 Page 2 of 7
AO 245C (Rev. 02/18) Amended Judgment in a Criminal Case
                     Sheet 2 - Imprisonment                                                             (NOTE: IdentifY Changes with Asterisks (*))
                                                                                                   Judgment -   Page             of
DEFENDANT: HUNTER BURNS
CASE NUMBER: CR·13·99·GF-BMM·04

                                                              IMPRISONMENT

        The defendant is hereby committed to the custody ofthe Federal Bureau of Prisons to be imprisoned for a
total term of:
two (2) months custody followed by four (4) months home confinement




o      The court makes the following recommendations to the Bureau of Prisons:




o      The defendant is remanded to the custody of the United States Marshal.

!!1    The defendant shall surrender to the United States Marshal for this district:
              at                                   o       a.m.   o   p.m.    on
              as notified by the United States Marshal.

o      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o      before 2 p.m. on
       o      as notified by the United States Marshal.
       o      as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:




       Defendant delivered on                                                        to

at    _______________________ with a certified copy of this judgment.




                                                                                                UNITED STATES MARSHAL


                                                                          By ___________________________________________
                                                                                           DEPUTY UNITED STATES MARSHAL
                     Case 4:13-cr-00099-BMM Document 106 Filed 02/20/18 Page 3 of 7
 AO 245C (Rev. 02118) Amended Judgment in a Criminal Case
                      Sheet 3 - Supervised Release                                                       (NOTE: Identify Changes with Asterisks (*))
                                                                                                      Judgment-Page ~ of                     7
 DEFENDANT: HUNTER BURNS
 CASE NUMBER: CR-13-99-GF-BMM-04
                                                        SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

three (3) years




                                                    MANDATORY CONDITIONS
I. You must not commit another federal, state or local crime.
2. You must not unlawfully possess a controlled substance.
3. You must refrain from any unlawful use ofa controlled substance. You must submit to one drug test within 15 days of release from
   imprisonment and at least two periodic drug tests thereafter, as determined by the court.
         o    The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
              substance abuse. (check ifapplicable)
4. 0 You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
        restitution. (check ifapplicable)
5. [!( You must cooperate in the collection of DNA as directed by the probation officer. (check ifapplicable)
6. 0 You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as
        directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
        reside, work, are a student, or were convicted of a qualifYing offense. (check ifapplicable)
7. [] You must participate in an approved program for domestic violence. (check ifapplicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                    Case 4:13-cr-00099-BMM Document 106 Filed 02/20/18 Page 4 of 7
AO 245C (Rev. 021\8) Amended Judgment in a Criminal Case
                     Sheet JA  Supervised Release
                                                                                                        Judgment-Page __4,--_of            7
DEFENDANT: HUNTER BURNS
CASE NUMBER: CR-13-99-GF-BMM-04

                                      STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identifY the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
      release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
      time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
      when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
      the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
S.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notifY the probation officer at least 10 days before the change. If notifYing
      the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
      hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
      to take any items prohibited by the conditions ofyour supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
      doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
      you from doing so. Ifyou plan to change where you work or anything about your work (such as your position or your job
      responsibilities), you must notifY the probation officer at least 10 days before the change. If notifYing the probation officer at least 10
      days in advance is not possible due to unanticipated circumstances, you must notifY the probation officer within 72 hours of
      becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
      convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
      probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notifY the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (Le., anything that
      was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
      tasers).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
      first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
      require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
      person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview ofProbation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                     Date
                    Case 4:13-cr-00099-BMM Document 106 Filed 02/20/18 Page 5 of 7
AO 245C (Rev. 02/18) Amended Judgment in a Criminal Case
                     Sheet 3D Supervised Release                                                (NOTE: Identify Changes with Asterisks (*»
                                                                                             Judgment-Page ~ of                     7
DEFENDANT: HUNTER BURNS
CASE NUMBER: CR-13-99-GF-BMM-04

                                        SPECIAL CONDITIONS OF SUPERVISION
  1. HUNTER BURNS CONSTRUCTION, LLC, and HUNTER BURNS will provide the United States Probation Officer with
  any requested financial information and shall incur no new lines of credit without prior written approval of the United States
  Probation Officer.

  2. All employment must be approved in advance in writing by the United States Probation Office. HUNTER BURNS
  CONSTRUCTION, LLC, and HUNTER BURNS shall consent to third-party disclosure to any employer or potential
  employer.

  3. HUNTER BURNS CONSTRUCTION, LLC, and HUNTER BURNS will fulfill all tax obligations in adherence to Internal
  Revenue Service requirements.

  4. HUNTER BURNS CONSTRUCTION, LLC, and HUNTER BURNS shall submit his person, reSidence, place of
  employment, vehicles, and papers, to a search, with or without a warrant by any probation officer based on reasonable
  suspicion of contraband or evidence in violation of a condition of release. Failure to submit to search may be grounds for
  revocation. The defendant shall warn any other occupants that the premises may be subject to searches pursuant to this
  condition. The defendant shall allow seizure of suspected contraband for further examination.

  5. HUNTER BURNS CONSTRUCTION, LLC, and HUNTER BURNS shall comply with suspension and debarment
  provisions set forth by the United States Department of the Interior.

  6. IT IS ORDERED THAT HUNTER BURNS CONSTRUCTION, LLC, and HUNTER BURNS shall pay a fine in the amount
  of $100,000 jointly and severally, in the total amount of $3,000 per month, or as otherwise directed by United States
  Probation. Payment shall be made to the Clerk, United States District Court, Missouri River Courthouse, 125 Central Ave
  West, Ste 110, Great Falls, Montana 59404.

  7. IT IS ORDERED THAT HUNTER BURNS CONSTRUCTION, LLC, and HUNTER BURNS shall pay a fine in the amount
  of $25,000 jointly and severally, at a rate of $750 per month, or as otherwise directed by United States Probation. Payment
  shall be made to the Clerk, United States District Court, Missouri River Courthouse, 125 Central Avenue West, Ste. 110,
  Great Falls, MT 59404.

  8. Pursuant to 18 U.S.C. § 3572(d)(3), HUNTER BURNS CONSTRUCTION, LLC, and HUNTER BURNS will notify the
  court of any material change in the defendant's economic circumstances that might affect the defendant's ability to pay the
  fine. Upon receipt of such notice, the court may, on its own motion or the motion of any party, adjust the payment
  schedule, or require immediate payment in full, as the interests of justice require.

  9. HUNTER BURNS shall be monitored by Radio Frequency (RF) MonitOring for a period of four (4) months, and shall
  abide by all technology requirements. The participant shall pay all or part of the costs of participation in the location
  monitoring program as directed by the court and probation officer. This form of location monitoring technology shall be
  utilized to monitor the following restriction on the offender's movement in the community as well as other court-imposed
  conditions of release: You are restricted to your residence at all times except for employment; education; religious
  services; medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered
  obligations; or other activities as pre-approved by the probation officer.
                       Case 4:13-cr-00099-BMM Document 106 Filed 02/20/18 Page 6 of 7
  AO 245C (Rev. 02/1&) Amended Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties                                                (NOTE: Identify Changes with Asterisks (*»
                                                                                                     Judgment - Page      6        of _ _.....7'--__
 DEFENDANT: HUNTER BURNS
 CASE NUMBER: CR-13-99-GF-BMM-04
                                                CRIMINAL MONETARY PENALTIES
       The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                       Assessment                    JVTA Assessment'"     Fine                             Restitution
 TOTALS             S 100.00                      $ N/A                  S 125,000.00                     S 0.00


  o The determination of restitution is deferred until - - - -. An Amended Judgment in a Criminal Case (AO 245C) will be
       entered after such determination.

  o The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
       If the defendant makes a partial payment, each payee shall receive an approximatel)' proportioned payment, unless s~cified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664~1), all nonfederal victims must be paid
       before the United States is paid.




 TOTALS                               $ _____________O~.O~O~               $                       0.00


 o     Restitution amount ordered pursuant to plea agreement $

*0     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
*I!J
  J    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

       o the interest requirement is waived for o fine               o restitution.
     * !!f the interest requirement for the 00 fine 0             restitution is modified as follows:

         The Court retroactively waives interest on the entirety of the $125,000 fine.
 '" Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
 ** Findings for the total amount oflosses are required under Chapters 109A, 110, tlOA, and 113A of Title 18 for offenses committed on or
 after September 13, 1994, but before April 23, 1996.
                    Case 4:13-cr-00099-BMM Document 106 Filed 02/20/18 Page 7 of 7
AO 245C (Rev. 02/18) Amended Judgment in a Criminal Case
                     Sheet 6 ­ Schedule of Payments                                                           (NOTE: Identify Changes with Asterisks (*»
                                                                                                          Judgment ­   Page __7
                                                                                                                              _ _ of
DEFENDANT: HUNTER BURNS
CASE NUMBER: CR-13-99-GF-BMM-04

                                                     SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    0     Lump sum payment of $ - - - - - - - due immediately, balance due

           o not later than                                      , or
           o in accordance with 0 C,             0    D,   0        or    0    F below; or

B    0    Payment to begin immediately (may be combined with             0 C,        o D, or 0 F below); or
c    0   Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $                       over a period of
         _ _ _ _ _ (e.g., months or years), to commence                  (e.g., 30 or 60 days) after the date of this judgment; or

D    0   Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                    over a period of
         _ _--::-__ (e.g., months or years), to commence                   (e.g., 30 or 60 days) after release from imprisonment to a
         tenn of supervision; or

E    0     Payment during the tenn of supervised release will commence within                (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    0     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk ofthe court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




~    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.

       Defendant Hunter Burns, CR 13-99-GF-BMM-04; Co-Defendant Hunter Burns Construction, LLC, CR
       13-99-GF-BMM-03; Total Amount: $125,000 Joint and Several: $125,000; Payee: Clerk, United States District
       Court, Missouri River Courthouse, 125 Central Ave. West., Ste. 110, Great Falls, Montana, 59404

o    The defendant shall pay the cost of prosecution.

o    The defendant shall pay the following court cost(s):

o    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest: (4) fine principal, (5) fine
interest, (6) communtty restitution, (7) JVTA assessment, (8) penalties, and (9) costs, mcludmg cost of prosecutIOn and court costs.
